             Case 2:20-cv-00485-RMP                  ECF No. 10          filed 06/08/21     PageID.40 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT                                                   FILED IN THE
                                                                                                                    U.S. DISTRICT COURT
                                                                                                              EASTERN DISTRICT OF WASHINGTON
                                                                  for the_
                                                     Eastern District of Washington
                                                                                                               Jun 08, 2021
       CHARLES JOSEPH REEVIS, also known as                                                                        SEAN F. MCAVOY, CLERK
        Bootz Nana Baby Rico Tabitha Rico Baby ,
                                                                     )
                             Plaintiff                               )
                                v.                                   )       Civil Action No. 2:20-CV-00485-RMP
    STATE OF WASHINGTON DEPARTMENT OF                                )
   SOCIAL AND HEALTH SERVICE BEHAVIORAL                              )
           HEALTH ADMINISTRATION
           EASTERN STATE HOSPITAL ,
                            Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: This action is DISMISSED without prejudice for lack of subject matter jurisdiction.
’




This action was (check one):
’ tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

’ tried by Judge                                                                          without a jury and the above decision
was reached.

✔
’ decided by Judge                   ROSANNA MALOUF PETERSON                                  .




Date: June 8, 2021                                                          CLERK OF COURT

                                                                            SEAN F. McAVOY

                                                                            s/ Claudia Canseco
                                                                                          (By) Deputy Clerk

                                                                            Claudia Canseco
